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GARY M. RESTAINO
United States Attorney
District of Arizona

MATTHEW WILLIAMS

Assistant U.S. Attorney

Arizona State Bar No. 029059

Two Renaissance Square

40 N. Central Ave., Suite 1800
Phoenix, Arizona 85004

Telephone: 602-514-7500

Email: matthew. williams3@usdoj.gov

GLENN S. LEON

Chief

Criminal Division, Fraud Section
U.S. Department of Justice

SHANE BUTLAND

Trial Attorney

Criminal Division, Fraud Section
U.S. Department of Justice

1400 New York Avenue NW
Washington, D.C. 20005
Telephone: 202-286-1177

Email: shane.butland2@usdoj.gov
Attorneys for Plaintiff

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JUN 1 2024

C US DISTRICT COURT

DISTRICT OF ARIZONA
DEPUTY

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CR-24-1 040-PHX-ROS ( DMF)

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America,
Plaintiff,
VS.
1. Alexandra Gehrke, a/k/a “Lexie”
Gehrke, and
(Counts 1-4, 6, 8-10)

2. Jeffrey King,
(Counts 1-5, 7, 10)

Defendants.

THE GRAND JURY CHARGES:

At all times material to this Indictment,

elsewhere:

INTRODUCTION

No.

VIO:

INDICTMENT

18 U.S.C. § 1349

(Conspiracy)
ount |

18 U.S.C. § 1347 and

18 U.S.C. § 2

Health Care Fraud)
ounts 2-3

18 U.S.C. § 371

(Conspiracy)
ount 4

42 US.C. § 1320a-7b(b)(1) and
18 U.S.C. i
(Receipt ot Kickbacks)

ounts 5-6

18 U.S.C. § 1957 and

18 U.S.C. § 2

(Tt ansactional Money Laundering)
ounts 7-10

18 U.S.C. § 981(a)1)(C)
18 U.S.C. i on b
USC. (9800), Oo
28 U.S.C. ; 3461(6)
(Forfeiture Allegations)

within the District of Arizona and

1. Defendants ALEXANDRA GEHRKE and JEFFREY KING, together with

their co-conspirators, targeted elderly Medicare patients, many of whom were terminally

ill in hospice care, and caused medically unnecessary amniotic wound allografts to be

applied to these vulnerable patients. From in or around November 2022, through in or

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around May 2024, the Defendants and their co-conspirators, individually and through
companies they owned and controlled, caused more than approximately $900 million in
false and fraudulent claims to Medicare for these medically unnecessary allografts applied
to less than approximately 500 patients. Medicare and other health care benefit programs
paid over $600 million based on these false and fraudulent claims. The Defendants received
more than $330 million in illegal kickbacks as a result of their fraud scheme, which they
used to further the fraud and diverted for their personal benefit and the benefit of others.
The Defendants and Related Entities

2. Defendant ALEXANDRA GEHRKE was a resident of Phoenix, Arizona.
ALEXANDRA GEHRKE co-owned, controlled, and operated Apex Mobile Medical LLC
(“Apex Mobile Medical”). ALEXANDRA GEHRKE co-owned, controlled, and operated
Apex Medical LLC (“Apex”) and served as its Chief Executive Officer. ALEXANDRA
GEHRKE solely owned, controlled, and operated Viking Medical Consultants LLC
(“Viking”).

3, Defendant JEFFREY KING was a resident of Phoenix, Arizona. JEFFREY
KING was a sales representative for Apex. JEFFREY KING was also a co-owner and
managing partner of APX Mobile Medical LLC (“APX”). JEFFREY KING married
ALEXANDRA GEHRKE in or around February 2024.

4. “Company 1” was a limited liability company formed under the laws of
Texas, with its principal place of business in Fort Worth, Texas. Company 1 was a
wholesale distributor of allografts. Medicare reimbursed claims for allografts distributed
by Company | at an extremely high rate, exceeding $1,000 per square centimeter for certain
allografts.

5. Apex Mobile Medical was a limited liability company formed under the laws
of Arizona, with its principal place of business in Phoenix, Arizona. Apex Mobile Medical
was an enrolled Medicare provider and submitted claims to Medicare for payment,

including claims for the furnishing of allografts purchased from Company 1.

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6. APX was a limited liability company formed under the laws of Arizona, with
its principal place of business in Phoenix, Arizona. APX was an enrolled Medicare provider
and submitted claims to Medicare for payment, including claims for the furnishing of
allografts purchased from Company 1.

7, Apex was a limited liability company formed under the laws of Arizona, with
its principal place of business in Phoenix, Arizona. Apex arranged for and recommended
the ordering and purchasing of allografts sold by Company 1. Apex also referred patients
to enrolled Medicare providers, including Apex Mobile Medical and APX, for the
furnishing of allografts purchased from Company 1.

8. Viking was a limited liability company formed under the laws of Arizona,
with its principal place of business in Phoenix, Arizona. Viking arranged for and
recommended the ordering and purchasing of allografts sold by Company 1. Viking also
referred patients to enrolled Medicare providers, including APX, for the furnishing of
allografts purchased from Company 1.

The Medicare Program

9, The Medicare program (“Medicare”) was a federal health care program

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providing benefits to persons who were 65 years of age or over or disabled. Medicare was
administered by the Centers for Medicare and Medicaid Services (“CMS”), a federal
agency under the United States Department of Health and Human Services (“HHS”).
Individuals who received benefits under Medicare were referred to as Medicare
“beneficiaries.”

10. Medicare was a “health care benefit program,” as defined by 18 U.S.C. §
24(b), and a “Federal health care program,” as defined by 42 U.S.C. § 1320a-7b(f), and
affected interstate commerce.

11. Medicare covered different types of benefits and was separated into different
program “parts.” Medicare “Part A” covered, among others, health services provided by

skilled nursing facilities, hospices, and home health agencies. Medicare “Part B” covered,

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among other things, medical items and services provided by physicians, nurse practitioners,
group practices, and other qualified health care providers, that were medically necessary
and ordered by licensed medical doctors or qualified health care providers.

12. Physicians, nurse practitioners, group practices, and other health care
providers (collectively, “providers”) that provided items and services to beneficiaries were
able to apply for and obtain a “provider number.” A provider that received a Medicare
provider number was able to file claims with Medicare to obtain reimbursement for items
and services provided to beneficiaries.

13. A Medicare claim was required to contain certain important information,
including: (a) the beneficiary’s name; (b) a description of the health care benefit, item, or
service that was provided or supplied to the beneficiary; (c) the billing codes for the benefit,
item, or service; (d) the date upon which the benefit, item, or service was provided or
supplied to the beneficiary; and (e) the name of the ordering, referring, or rendering
physician or other health care provider. The claim form could be submitted in hard copy or
electronically via interstate wire.

14. As a requirement to enroll as a Medicare provider, Medicare required
providers to agree to abide by Medicare laws, regulations, and program instructions.
Medicare further required providers to certify that they understood that payment of a claim
by Medicare was conditioned upon the claim and the underlying transaction complying
with these laws, regulations, and program instructions, including the Federal Anti-
Kickbacks Statute. Medicare paid for claims only if the items and services were medically
reasonable, medically necessary for the treatment or diagnosis of the patient’s illness or
injury, accurately documented, and provided as represented to Medicare. Medicare would
not pay for items and services that were procured through illegal kickbacks.

15. | Medicare covered access to certain bioengineered skin substitutes, including
some amniotic membrane allografts made from human placental tissue (“allografts”).

These allografts were applied over open wounds to assist with wound closure or skin

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growth. Medicare reimbursed providers for certain allografts furnished to Medicare

beneficiaries only if the allografts were medically reasonable, medically necessary for the

treatment or diagnosis of the beneficiary’s illness or injury, accurately documented,

provided as represented to Medicare, and not procured through illegal kickbacks.
CHAMPVA

16. The Civilian Health and Medical Program of the Department of Veterans
Affairs (““CHAMPVA”) was a federal health care benefit program within the United States
Department of Veterans Affairs (“VA”). CHAMPVA was a comprehensive health care
program in which the VA shared the cost of covered health care services and supplies with
eligible beneficiaries. The eligible categories for CHAMPVA beneficiaries were the
spouses or children of veterans of the United States military who had been rated
permanently and totally disabled for a service-connected disability and the surviving
spouse or child of a veteran who died from a VA-related service-connected disability.

17. In general, CHAMPVA covered most health care services and supplies that
were medically and psychologically necessary. CHAMPVA was always the secondary
payer to another health benefit program, including Medicare, and reimbursed costs that the
primary health care benefit program did not cover. For Medicare beneficiaries with
CHAMPVA coverage, health care claims were first sent to Medicare for processing, and
then Medicare electronically forwarded claims to CHAMPVA.

18. CHAMPVA was a “health care benefit program,” as defined by 18 U.S.C. §
24(b), and a “Federal health care program,” as defined by 42 U.S.C. § 1320a-7b(f), and
affected interstate commerce.

TRICARE

19. TRICARE was a federal health insurance program of the United States
Department of Defense (“DOD”) Military Health System that provided coverage for DOD
beneficiaries worldwide, including active-duty service members, National Guard and

Reserve members, retirees, their families, and their survivors. The Defense Health Agency,

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an agency of the DOD, was the governmental entity responsible for overseeing and
administering TRICARE.

20. TRICARE offered health insurance benefits for items and services that were
medically necessary. TRICARE reimbursed providers based on payment rates from
applicable fee and rates schedules. Generally, when a beneficiary was eligible for Medicare
and TRICARE, TRICARE was secondary to Medicare.

21. TRICARE was a “health care benefit program,” as defined by 18 U.S.C. §
24(b), and a “Federal health care program,” as defined by 42 U.S.C. § 1320a-7b(f), and
affected interstate commerce.

Commercial Insurance Plans

22. Commercial insurance plans were provided by private health insurance
companies (“Commercial Insurers”) that offered individual and group health benefit plans
under which individuals could obtain coverage for health care items and services.
Individuals who received benefits from Commercial Insurers were referred to as
“members.”

23. Commercial Insurers often made payments directly to providers, rather than
to members who received the health care benefits, items, and services.

24. To obtain payment for treatment or services provided to a member, providers
were required to submit itemized claim forms to the member’s commercial insurance plan.
The claim forms were typically submitted electronically. The claim form required certain
important information, including: (a) the member’s name and identification number; (b) a
description of the health care benefit, item, or service that was provided or supplied to the
member; (c) the billing codes for the benefit, item, or service; (d) the date upon which the
benefit, item, or service was provided or supplied to the member; and (e) the name of the
referring physician or other provider, as well as the applicable identification number for
the referring physician or provider.

25. When a provider submitted a claim to Commercial Insurers, the provider

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certified that the contents of the form were true, correct, and complete, and that the form
was prepared in compliance with applicable laws and regulations. The provider also
certified that the items or services being billed were medically necessary and provided as
represented.

26. Each of the Commercial Insurers was a “health care benefit program,” as

defined in 18 U.S.C. § 24(b), and affected interstate commerce.

COUNT 1
Conspiracy
(18 U.S.C. § 1349)
The factual allegations in the preceding paragraphs are incorporated by reference
and re-alleged as though fully set forth herein.
27. Beginning in or around June 2022, and continuing through in or around May
2024, in the District of Arizona and elsewhere, Defendants ALEXANDRA GEHRKE and
JEFFREY KING, individually and doing business under the entities described above, along
with other individuals and entities known and unknown to the grand jury, knowingly and
willfully agreed and conspired with each other and others to commit the following offenses
against the United States: wire fraud, in violation of 18 U.S.C. § 1343; and health care
fraud, in violation of 18 U.S.C. § 1347.
Purpose of the Conspiracy
28. The purpose of the conspiracy was for Defendants ALEXANDRA
GEHRKE, JEFFREY KING, and their co-conspirators to unlawfully enrich themselves by,
among other things: (a) submitting and causing the submission of false and fraudulent
claims to Medicare, TRICARE, CHAMPVA, and the Commercial Insurers for items and
services that were (i) medically unreasonable and unnecessary, (ii) ineligible for
reimbursement, and (iii) procured through illegal kickbacks; (b) concealing the submission

of false and fraudulent claims to Medicare, TRICARE, CHAMPVA, and the Commercial

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Insurers and the receipt and transfer of the proceeds from the fraud; and (c) diverting
proceeds of the fraud for the personal use and benefit of ALEXANDRA GEHRKE,
JEFFREY KING, and their co-conspirators, and to further the fraud.
Manner and Means of the Conspiracy and Scheme
29. The manner and means used by Defendants ALEXANDRA GEHRKE,
JEFFREY KING, and others, individually and through the entities described above, to
effect the objects of the conspiracy and scheme to defraud, included the following:

a. In or around September 2022 and in or around November 2022,
ALEXANDRA GEHRKE falsely certified to Medicare as Apex Mobile Medical’s
Authorized Official that she would comply with all of Medicare’s laws, regulations,
and program instructions and that she would not knowingly present or cause to be
presented a false or fraudulent claim for payment to Medicare.

b. In or around September 2022 and in or around November 2022,
ALEXANDRA GEHRKE certified to Medicare as Apex Mobile Medical’s
Authorized Official that she understood that payment of a claim by Medicare was
conditioned upon the claim and the underlying transaction complying with the
Federal Anti-Kickback Statute.

C. ALEXANDRA GEHRKE and JEFFREY KING, through Apex and
Viking, personally arranged for and recommended the ordering and purchasing of
allografts sold by Company 1, and referred patients to enrolled Medicare providers,
including Apex Mobile Medical and APX, for the furnishing of allografts purchased
from Company 1.

d. ALEXANDRA GEHRKE, through Apex and Viking, contracted with
medically untrained sales representatives to arrange for and recommend the
ordering and purchasing of allografts sold by Company 1, and to refer patients to
enrolled Medicare providers, including Apex Mobile Medical and APX, for the

furnishing of allografts purchased from Company 1.

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e. ALEXANDRA GEHRKE and JEFFREY KING, through Apex
Mobile Medical and APX, contracted with nurse practitioners to order and apply
Company 1’s allografts to the patients referred by ALEXANDRA GEHRKE,
JEFFREY KING, and the medically untrained sales representatives.

f. ALEXANDRA GEHRKE paid the sales representatives illegal
kickbacks based on the quantity and size of Company 1’s allografts that the nurse
practitioners applied to the patients and that Apex Mobile Medical and APX billed
to Medicare. These kickbacks were as high as hundreds of thousands of dollars per
month for certain sales representatives.

g. ALEXANDRA GEHRKE and JEFFREY KING paid the nurse
practitioners a flat rate of $500 or $1,000 per patient encounter to apply the
allografts.

h. To identify Medicare patients to refer to Apex Mobile Medical for the
furnishing of Company 1’s allografts, JEFFREY KING instructed the sales
representatives go to facilities with elderly populations, such as nursing homes,
assisted living facilities, and hospice facilities, and identify patients with a “wound
or wounds of any stage” that would “benefit from healing faster.” JEFFREY KING
and others instructed the sales representatives to take photographs of the patient’s
wound, measure the size of the wound, and obtain copies of the patient’s insurance
card.

i. ALEXANDRA GEHRKE directed the sales representatives to target
hospice facilities, stating in a meeting with sales representatives that hospice
facilities were “where the most money [was] at with [her] company.”

j. ALEXANDRA GEHRKE directed the sales representatives to order
Company 1’s allografts only in sizes 4x6cm or larger—despite the availability of
smaller sizes of allografts—even if the patient’s wound was “the size of [her] little

fingernail.”

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k. JEFFREY KING pressured the nurse practitioners to apply Company
1’s allografts to Medicare patients without regard to medical necessity, without a
prior relationship with the patient, without reviewing the patients’ medical records,
without speaking to the patients’ primary care physicians, and without exercising
independent medical judgment.

1. The nurse practitioners applied allografts to Medicare patients that
were medically unreasonable and unnecessary because, among other reasons, the
wounds were infected, the wounds had already healed, the wounds were not
responding to the allografts, the wounds would not heal because of the terminally
ill patients’ comorbidities, and the allografts exceeded the size of the wound.

m. The nurse practitioners applied allografts to terminally ill patients
receiving palliative care in hospice facilities. Some patients died within days or the
same day of the allograft application.

n. From in or around June 2022, through in and around May 2024,
ALEXANDRA GEHRKE received, individually and through Apex and Viking,
over $240 million in illegal kickbacks from Company 1, in exchange for the
purchasing, ordering, and arranging for and recommending the purchasing and
ordering of Company 1’s allografts that were billed to Medicare.

0. From in or around November 2022, through in or around April 2023,
ALEXANDRA GEHRKE received, through Apex Mobile Medical, illegal
kickbacks in the form of rebates from Company | in exchange for the purchasing
and ordering of Company 1’s allografts that were billed to Medicare.

p. From in or around April 2023, through in or around May 2024,
JEFFREY KING received, through APX, over $90 million in illegal kickbacks in
the form of rebates from Company 1 in exchange for the purchasing and ordering
of Company 1’s allografts that were billed to Medicare.

q. ALEXANDRA GEHRKE, JEFFREY KING, and others concealed

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and disguised these illegal kickbacks by, among other ways, causing sham invoices
to be issued that reflected the full price, not the rebated price, of the allografts, and
opening a so-called “joint venture” bank account to conceal the transfer of the illegal
kickbacks from Company | to APX.

r. From in or around November 2022, through in or around May 2024,
defendants ALEXANDRA GEHRKE, JEFFREY KING, and others, through Apex
Mobile Medical and APX, submitted over $900 million in false and fraudulent
claims to Medicare, CHAMPVA, TRICARE, and the Commercial Insurers for
Company 1’s allografts that were medically unreasonable and unnecessary,
ineligible for reimbursement, and procured through illegal kickbacks. Medicare,
CHAMPVA, TRICARE, and the Commercial Insurers paid Apex Mobile Medical
and APX over $600 million based on those claims.

s. ALEXANDRA GEHRKE and JEFFREY KING used the illegal
kickbacks received from Company | and the illegal proceeds of their fraud scheme
to fund their lavish and opulent lifestyle, which included ALEXANDRA
GEHRKE’s purchases of a $300,000 Ferrari and a $230,000 Mercedes-Benz,
JEFFREY KING’s purchase of a $640,000 house, and their joint purchases of a $5.8

million house and over $520,000 in gold bars, gold coins, and jewelry.

All in violation of 18 U.S.C. § 1349.

COUNTS 2-3
Health Care Fraud
(18 U.S.C. § 1347 and 18 U.S.C. § 2)

The factual allegations in paragraphs 1 through 26 are incorporated by reference and

re-alleged as though fully set forth herein.

30. Beginning in or around June 2022, and continuing through in or around May

2024, in the District of Arizona and elsewhere, Defendants ALEXANDRA GEHRKE and
JEFFREY KING, individually and doing business under the entities described above, along

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with other individuals and entities known and unknown to the grand jury, in connection
with the delivery of, and payment for, health care benefits, items, and services, did
knowingly and willfully execute, and attempt to execute, a scheme and artifice to defraud
Medicare, TRICARE, CHAMPVA, and the Commercial Insurers, which are health care
benefit programs as defined in 18 U.S.C. § 24(b), and to obtain by means of materially
false and fraudulent pretenses, representatives, and promises, money and property owned
by, and under the custody and control of, the health care benefit programs.
Purpose of the Scheme

31. Paragraph 28 is incorporated by reference and re-alleged as though fully set

forth herein as the purpose of the scheme.
Manner and Means of the Scheme

32. Paragraph 29 is incorporated by reference and re-alleged as though fully set

forth herein as the manner and means of the scheme.
Executions of the Scheme

33. On or about the dates specified below, in the District of Arizona and
elsewhere, Defendants ALEXANDRA GEHRKE and JEFFREY KING, aided and abetted
by, and aiding and abetting, others known an unknown to the grand jury, submitted and
caused to be submitted the following false and fraudulent claims to Medicare for Company
1’s_ allografts that were medically unreasonable and unnecessary, ineligible for
reimbursement, and procured through illegal kickbacks, in an attempt to execute, and in
execution of, the scheme as described in paragraph 30, with each execution set forth below

forming a separate count:

Approx. Approx.
Approx. Medicare Billing Amount Amount
Ct. | Claim Date | Patient Provider | Billed to Paid by
Medicare Medicare
May 17, Medicare
2 5093 Patient 1 APX $99,900 $78,321
October 20, Medicare
3 023 Patient 2 APX $32,202 $25,246

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Each in violation of 18 U.S.C. § 1347 and 18 U.S.C. § 2.

COUNT 4
Conspiracy
(18 U.S.C. § 371)

The factual allegations in paragraphs 1 through 26 and 33 are incorporated by

reference and re-alleged as though fully set forth herein.

34. Beginning in or around June 2022, and continuing through in or around May
2024, in the District of Arizona and elsewhere, Defendants ALEXANDRA GEHRKE and
JEFFREY KING, individually and doing business under the entities described above, along
with other individuals and entities known and unknown to the grand jury, knowingly and
willfully agreed and conspired with each other and others to: defraud the United States by
impairing, impeding, obstructing, and defeating through deceitful and dishonest means the
lawful government functions of HHS and CMS in their administration and oversight of
Medicare; soliciting and receiving illegal kickbacks, in violation of 42 U.S.C. § 1320a-
7b(b)(1); and offering and paying illegal kickbacks, in violation of 42 U.S.C. § 1320a-
7b(b)(2).

Purpose of the Conspiracy

35. Paragraph 28 is incorporated by reference and re-alleged as though fully set

forth herein as the purpose of the conspiracy.
Manner and Means of the Conspiracy

36. Paragraph 29 is incorporated by reference and re-alleged as though fully set

forth herein as the manner and means of the conspiracy.
Overt Acts

37. In furtherance of the conspiracy, and to effect the objects of the conspiracy,
Defendants ALEXANDRA GEHRKE and JEFFREY KING committed or caused to be
committed various overt acts in the District of Arizona and elsewhere, including but not

limited to the following:

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a. On or about July 8, 2022, ALEXANDRA GEHRKE, through Apex,
received an illegal kickback in the approximate amount of $9,630 via a wire transfer
from Company 1’s bank account ending in 3813.

b. On or about July 10, 2023, ALEXANDRA GEHRKE directed Apex
“sales representatives” to order allografts no smaller than 4x6 cm, even for a wound
the size of her “little fingernail.”

C. On or about August 2, 2023, JEFFREY KING, through APX, received
an illegal kickback in the approximate amount of $3,702,240 via wire transfer from
a bank account ending in 3585 to APX’s bank account ending in 7158.

d. On or about September 26, 2023, JEFFREY KING, through APX,
received an illegal kickback in the approximate amount of $10,796,760 via wire
transfer from a bank account ending in 3585 to APX’s bank account ending in 7158.

e. On or about October 11, 2023, ALEXANDRA GEHRKE, through
Apex, received an illegal kickback in the amount of approximately $20,780,693 via
wire transfer from Company 1’s bank account ending in 3813 to Apex’s bank
account ending in 9686.

f. On or about November 1, 2023, JEFFREY KING, through APX,
received an illegal kickback in the approximate amount of $15,298,480 via wire
transfer from a bank account ending in 3585 to APX’s bank account ending in 7158.

g. On or about December 8, 2023, ALEXANDRA GEHRKE, through
Apex, received an illegal kickback in the approximate amount of $71,148,550 via
wire transfer from Company 1’s bank account ending in 3813 to Apex’s bank
account ending in 9686.

h. On or about January 8, 2024, ALEXANDRA GEHRKE received an
illegal kickback in the approximate amount of $81,782,416 via wire transfer from
Company 1’s bank account ending in 3813 to Apex’s bank account ending in 9686.

i. On or about January 15, 2024, ALEXANDRA GEHRKE issued a

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check to JEFFREY KING’s company, King Medical Consultant LLC, in the
approximate amount of $2,723,713 with the memo “commission income Dec
collected revenue 2%,” drawn on Apex’s bank account ending in 9686.
All in violation of 18 U.S.C. § 371.
COUNTS 5-6

Receipt of Kickbacks
(42 U.S.C. § 1320a-7b(b)(1) and 18 U.S.C. § 2)

The factual allegations in paragraphs | through 26, 28, 29, 33, and 37 are

incorporated by reference and re-alleged as though fully set forth herein.

38. On or about the approximate dates set forth below, in the District of Arizona
and elsewhere, ALEXANDRA GEHRKE and JEFFREY KING did knowingly and
willfully solicit and receive remuneration, specifically, kickbacks, bribes, and rebates,
directly and indirectly, overtly and covertly, in cash and in kind, in return for (a) referring
an individual to a person for the furnishing and arranging for the furnishing of any item
and service for which payment may be made in whole and in part under a Federal health
care program, and (b) purchasing, leasing, ordering, and arranging for and recommending
purchasing, leasing, and ordering any good, facility, service, and item for which payment

may be made in whole and in part by a Federal health care program, as set forth below:

Originating Receiving Approx.
Ct.| Defendant | Approx. Date Account Account Amount
APX’s Bank
5 JEFFREY August 2, Bank snceount Account $3.702.240
KING 2023 e Ending in ptNAs
3585
7158
Company 1’s | Apex’s Bank
ALEXANDRA | October 11, | Bank Account Account
6 GEHRKE 2023 Ending in Ending in $20,780,693
3813 9686

Each in violation of 42 U.S.C. § 1320a-7b(b)(1) and 18 U.S.C. § 2.

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COUNTS 7-10

Transactional Money Laundering
(18 U.S.C. § 1957 and 18 U.S.C. § 2)

The factual allegations in paragraphs 1 through 26, 28, 29, 33, and 37 are

incorporated by reference and re-alleged as though fully set forth herein.

39. Onor about the approximate dates listed below, Defendants ALEXANDRA
GEHRKE and JEFFREY KING, individually and doing business under the entities
described above, along with other individuals and entities known and unknown to the grand
jury, in the District of Arizona and elsewhere, knowingly engaged and attempted to engage
in the following transactions in the United States with criminally derived property of a
value exceeding $10,000, derived from specified unlawful activity, namely wire fraud, in
violation of 18 U.S.C. § 1343, health care fraud, in violation of 18 U.S.C. § 1347,
conspiracy to commit wire fraud and health care fraud, in violation of 18 U.S.C. § 1349,
conspiracy to defraud the United States and pay and receive illegal health care kickbacks,
in violation of 18 U.S.C. § 371, and paying and receiving illegal health care kickbacks, in
violation of 42 U.S.C. § 1320a-7b(b):

Approx Originatin Description of Approx
Ct. Defendant D, , g 8 Property PPFox.
ate Account Amount
Purchased
King Medical 1637 North
7 JEFFREY August 21, Consultant Sunset Drive, $638,449
KING 2023 Bank Account Tempe, AZ ,
Ending in 8875 85288
ALEXANDRA | January 4, | 7&x!¢ Entetprises | 9016 Ferrari 488
8 | GEHRKE 2024 | | Bank Account Spider $294,909
Ending in 8870
9 ALEXANDRA | January 4, fone ener at 2023 Mercedes- $227.343
GEHRKE 2024 oe Benz °
Ending in 8870
ALEXANDRA Capital Is King 6246 East
10 GEHRKE and | January 5, Bank Account Hillcrest Blvd., $5.489.793
JEFFREY 2024 Ending in 5191 Scottsdale, AZ, _—
KING 85215

Each in violation of 18 U.S.C. § 1957 and 18 U.S.C. § 2.

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FORFEITURE ALLEGATIONS

The factual allegations in the preceding paragraphs are incorporated by reference
and re-alleged as though fully set forth herein.

40. Pursuant to 18 U.S.C. §§ 981 and 982, 21 U.S.C. § 853, and 28 U.S.C. §
2461(c), and upon conviction of one or more of the offenses alleged in Counts 1 through
10 of this Indictment, Defendants ALEXANDRA GEHRKE and JEFFREY KING, shall
forfeit to the United States all right, title, and interest in any and all property, real or
personal, involved in such offense(s), or any property traceable to such property involved
in the offense(s), or conspiracy to commit such offense(s), including the following: (a) all
money or other property that was the subject of each transaction, transportation,
transmission or transfer in violation of a statute listed in 18 U.S.C. § 982, (b) all other
property constituting proceeds obtained as a result of those violations, and (c) all property
used in any manner or part to commit or to facilitate the commission of those violations
including, but not limited to the sum of money representing the amount of money involved
in the offense(s) and the property named below.

a. The property at 1637 North Sunset Drive, Tempe, Arizona 85281,
titled to J KING HOLDINGS LLC.

b. The property at 6246 East Hillcrest Blvd., Scottsdale, Arizona 85251,
titled to AEAGJK IRREVOCABLE TRUST.

C. The 2016 Ferrari 488 Spider bearing Vehicle Identification Number

ZFF80AMA6G0219407, titled to JEXIE ENTERPRISES INC.

d. The 2023 Mercedez-Benz SL63 AMG bearing Vehicle Identification

Number WIK VK8BB6PF015497, titled to JEXIE ENTERPRISES INC.

e. 2023 Mercedez-Benz GLE bearing Vehicle Identification Number
4JGFB6BB7PA858815, titled to APX MOBILE MEDICAL LLC.
f. The 2022 Mercedes-Benz G63 bearing Vehicle Identification Number

WINYC8AJ6NX455281, titled to JEXIE ENTERPRISES INC.

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g. $524,745 of gold bars, gold coins, and jewelry purchased by
ALEXANDRA GEHRKE and JEFFREY KING.

h. $19,591,940 held in the U.S. Bank checking account ending in 5798
in the name of ALEXANDRA GEHRKE.

i. $13,758,004 held in the U.S. Bank checking account 7681 in the name
of AMTG MEDICAL CONSULTANT LLC.

j. $10,793,620 held in the U.S. Bank checking account ending in 7699
in the name of JEXIE ENTERPRISES INC.

k. $8,000,000 life insurance policy number ending in 5602 held by
Sentinel Security Life Insurance Company in the name of ALEXANDRA
GEHRKE.

I. $8,000,000 life insurance policy number ending in 8279 held by
Sentinel Security Life Insurance Company in the name of JEFFREY KING.

m. $5,688,109 held in the Wells Fargo Bank checking account ending in
1101 in the name of JEXIE ENTERPRISES INC.

n. $2,800,000 held in the Alerus Bank checking account ending in 8329
in the name of JEXIE ENTERPRISES INC.

0. $1,999,978 held in the Alerus Bank checking account ending in 7834
in the name of ALEXANDRA GEHRKE.

p. $1,634,604 held in the U.S. Bank checking account ending in 0238 in
the name of ALEXANDRA GEHRKE.

q. $1,470,614 held in the Alerus Bank checking account ending in 8220
in the name of AMTG MEDICAL CONSULTANT LLC.

r. $1,000,000 held in the JP Morgan Chase certificate of deposit account
ending in 5107 in the name of JEXIE ENTERPRISES INC.

S. $940,373 held in the U.S. Bank checking account ending in 7665 in
the name of THE FITZGERALD IRREVOCABLE TRUST.

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$912,857 held in Alerus Bank checking account ending in 2750 in the

name of CAPITAL IS KING LLC.

41. If any of the above-described forfeitable property, as a result of any act or

omission of the defendant(s):

a. cannot be located upon the exercise of due diligence,

b. has been transferred or sold to, or deposited with, a third party,

c. has been placed beyond the jurisdiction of the court,

d. has been substantially diminished in value, or

e. has been commingled with other property which cannot be divided
without difficulty,

it is the intent of the United States to seek forfeiture of any other property of said

defendant(s) up to the value of the above-described forfeitable property, pursuant to 21

U.S.C. § 853(p).

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42.

All in accordance with 18 U.S.C. §§ 981 and 982, 21 U.S.C. § 853, 28 U.S.C.

§ 2461(c), and Federal Rule of Criminal Procedure 32.2.

GARY M. RESTAINO
United States Attorney
District of Arizona

/S/
MATTHEW WILLIAMS
Assistant U.S. Attorney

GLENN S. LEON

Chief

Criminal Division, Fraud Section
U.S. Department of Justice

/S/
SHANE BUTLAND
Trial Attorney

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A TRUE BILL

/S/
FOREPERSON OF THE GRAND JURY
Date: June 18, 2024

